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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                     BEAUMONT DIVISION

PAUL THOMAS SHAW                                 §

VS.                                              §                CIVIL ACTION NO. 1:20cv307

MITCHELL NEWMAN, ET AL.                          §

                  MEMORANDUM ORDER ADOPTING THE MAGISTRATE
                     JUDGE’S REPORT AND RECOMMENDATION

        Plaintiff Paul Thomas Shaw, an inmate at the Jefferson County Correctional Facility,

proceeding pro se, brought this civil rights suit pursuant to 42 U.S.C. § 1983.

        The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and orders of this court.

The magistrate judge recommends this action be dismissed without prejudice.

        The court has received and considered the Report and Recommendation of United States

Magistrate Judge filed pursuant to such referral, along with the record, pleadings and all available

evidence. No objections to the Report and Recommendation of United States Magistrate Judge were

filed by the parties.

                                            ORDER

        Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct

and the report of the magistrate judge is ADOPTED. A final judgment will be entered in this case

in accordance with the magistrate judge’s recommendations.

        SIGNED this the 21 day of October, 2020.




                                      ____________________________
                                      Thad Heartfield
                                      United States District Judge
